      2:15-cv-04352-DCN         Date Filed 10/26/15     Entry Number 1       Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

MATTHEW SCIABUCUCHI, on             )                         2:15-cv-04352-DCN
                                                    Case No: ________________________
Behalf of Himself and All Others    )
Similarly Situated,                 )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )
                                    )                NOTICE OF REMOVAL
SOUTHCOAST FINANCIAL                )
CORPORATION; L. WAYNE PEARSON; )
ROBERT M. SCOTT; JAMES P. SMITH; )
WILLIAM A. COATES; TOMMY            )
BAKER; STEPHEN F. HUTCHINSON;       )
and BNC BANCORP;                    )
                                    )
                  Defendants.       )
___________________________________ )

       Defendant BNC BANCORP hereby files this Notice of Removal from the Court of

Common Pleas for Charleston County, State of South Carolina, to the United States District Court

for the District of South Carolina, Charleston Division, pursuant to 28 U.S.C. §§ 1332, 1441 et

seq., and 1446.

       1.     Defendant BNC BANCORP desires to exercise its right under the provisions of 28

U.S.C. §§ 1332, 1441 et seq., and 1446 to remove this action from the Court of Common Pleas of

Charleston County, South Carolina, in which such action is now pending under the caption of

Matthew W. Sciabucuchi, on Behalf of Himself and All Others Similarly Situated v. Southcoast

Financial Corporation; L. Wayne Pearson; Robert M. Scott; James P. Smith; William A. Coates;

Tommy Baker; Stephen F. Hutchinson; and BNC Bancorp, Case No. 2015-CP-10-5500, to the

United States District Court for the District of South Carolina, Charleston Division. Pursuant to
       2:15-cv-04352-DCN          Date Filed 10/26/15       Entry Number 1         Page 2 of 6




28 U.S.C. § 1446(a), copies of all pleadings that Plaintiff has filed in the Court of Common Pleas

for Charleston County are attached hereto collectively as Exhibit A.

        2.      Although Defendant BNC BANCORP has not yet been properly served, Defendant

BNC BANCORP first received copies of the initial pleadings in this action on October 15, 2015.

This notice of removal is timely filed because it is being filed within 30 days of Defendant BNC

BANCORP’s receipt of copies of the initial pleadings setting forth the claim for relief upon which

such action or proceeding is based. See 28 U.S.C. § 1446(b)(1) (“The notice of removal of a civil

action or proceeding shall be filed within 30 days after the receipt by the defendant, through service

or otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such

action or proceeding is based, or within 30 days after the service of summons upon the defendant

if such initial pleading has then been filed in court and is not required to be served on the defendant,

whichever period is shorter.”).

        3.      There exists diversity of citizenship between the Plaintiff and the Defendants and

the amount in controversy exceeds the sum of $75,000.00, exclusive of interest and costs. This

Court therefore has original jurisdiction over this action as provided in 28 U.S.C. § 1332(a).

        4.      Venue in this Court is proper pursuant to 28 U.S.C. §§ 1441(a) and 1446(a) because

the United States District Court for the District of South Carolina is the federal judicial district

embracing the Court of Common Pleas for Charleston County, South Carolina, where the state

court action was originally filed.

        5.      Under the provisions of 28 U.S.C. § 1441 et seq., the right exists to remove this

case from the Court of Common Pleas, County of Charleston, to the United States District Court

for the District of South Carolina, Charleston Division, which embraces the place where this action

is pending. In his Complaint, Plaintiff attempts to set forth claims for (i) breach of fiduciary duties



                                                   2
       2:15-cv-04352-DCN          Date Filed 10/26/15      Entry Number 1        Page 3 of 6




and (ii) aiding and abetting breaches of fiduciary duties. Plaintiff seeks a judgment enjoining the

Defendants from proceeding with, consummating, or closing a proposed merger transaction under

which Defendant BNC BANCORP will or would acquire all of the common stock of Defendant

Southcoast Financial Corporation in a stock transaction valued at approximately $95.5 million or,

alternatively, rescinding the completed transaction or awarding damages to the Plaintiff.

Accordingly, the amount in controversy far exceeds the statutory minimum of Seventy Five

Thousand Dollars ($75,000.00), exclusive of interest and costs.

       6.      This action involves a controversy between citizens of different states.          The

citizenship of the Plaintiff and Defendants pursuant to 28 U.S.C. § 1332 is completely diverse.

Based upon research of publicly available records, Plaintiff is a citizen and resident of the State of

Pennsylvania. Defendant BNC BANCORP is a corporation organized under the laws of the State

of North Carolina with its corporate headquarters and principal place of business in North Carolina.

See Complaint ¶ 19.

       7.      As alleged in the Complaint, Defendant Southcoast Financial Corporation is a

South Carolina corporation and maintains its principal place of business in Charleston County,

South Carolina. See id. ¶ 6. Defendant Southcoast Financial Corporation has not yet been properly

served with the initial pleadings in this action.

       8.      Upon information and belief, Defendants L. Wayne Pearson, Robert M. Scott,

James P. Smith, William A. Coates, Tommy Baker, and Stephen F. Hutchinson, none of whom

have yet been properly served with the initial pleadings in this action, are each citizens and

residents of the State of South Carolina.

       9.      Therefore, the parties to this action are of diverse citizenship. At the time this

Notice of Removal was filed, no Defendants have been or were properly served with the initial



                                                    3
       2:15-cv-04352-DCN         Date Filed 10/26/15       Entry Number 1       Page 4 of 6




pleadings in the action. Defendant BNC BANCORP is filing this notice of removal after receiving

copies of the initial pleadings (other than through proper service) and before it was properly served

with the initial pleadings.

       10.     Defendant BNC BANCORP is not a resident or citizen of the State of South

Carolina. Defendant BNC BANCORP is filing this notice of removal before any of the Defendants

in this action were or have been properly served with the initial pleadings in this action, including

any Defendants who may be or are residents or citizens of the State of South Carolina.

Accordingly, the “forum defendant rule” does not bar or preclude removal of this action. See 28

U.S.C. § 1441(b)(2) (“A civil action otherwise removable solely on the basis of the jurisdiction

under section 1332(a) of this title may not be removed if any of the parties in interest properly

joined and served as defendants is a citizen of the State in which such action is brought.” (emphasis

added)); see also Wensil v. E.I. Dupont De Nemours & Co., 792 F. Supp. 447 (D.S.C. 1992) (28

U.S.C. § 1441(b) did not bar nonresident defendants in a diversity action from removing the action

to federal court because the notice of removal was filed before service was effected upon co-

defendants who resided in the state where the action was filed).

       11.     As required by 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal shall be served on Plaintiff and a true copy of this Notice of Removal shall be filed with

the Clerk of the Charleston County Court of Common Pleas.

       12.     A copy of the Notice of Filing of the Notice of Removal is attached hereto as

Exhibit B (without the copy of this notice of removal that will be attached to it).

       13.     For all the foregoing reasons, Defendant BNC BANCORP is entitled to remove and

by this Notice does hereby remove this civil action from the Court of Common Pleas, Charleston

County, South Carolina, to the United States District Court for the District of South Carolina,



                                                 4
       2:15-cv-04352-DCN          Date Filed 10/26/15          Entry Number 1       Page 5 of 6




Charleston Division, such district and division embracing the jurisdiction where the said suit is

pending.

        14.     Defendant BNC BANCORP respectfully requests that this action currently pending

in the Charleston County Court of Common Pleas be removed to this Court and that this Court

proceed as if it had originally initiated in this Court.

        15.     No applicable rules, laws, or statutes prevent or limit the right of removal of this

action to this United States District Court.

        16.     By this Notice of Removal, Defendant BNC BANCORP does not waive any

objections or defenses it may have as to service, jurisdiction, or venue or any other defenses or

objections it may have to this action. Defendant BNC BANCORP intends no admission of fact,

law, or liability by this Notice, and expressly reserves all defenses, motions, and/or pleas.

        WHEREFORE, Defendant BNC BANCORP prays that this action be removed to this

Honorable United States District Court and that this Court accept jurisdiction of the action and

henceforth, that this action be placed on the docket of this Court for further proceedings, the

same as though this action had been originally instituted in this Court.


                                                ROSEN, ROSEN & HAGOOD, LLC

                                                By:        /s/ Daniel F. Blanchard, III
                                                           Richard S. Rosen (Fed. Id. 3648)
                                                           Daniel F. Blanchard, III (Fed. Id. 6285)
                                                           151 Meeting Street, Suite 400
                                                           P.O. Box 893
                                                           Charleston, SC 29402
                                                           (843) 577-6726
                                                           rsrosen@rrhlawfirm.com
                                                           dblanchard@rrhlawfirm.com




                                                   5
      2:15-cv-04352-DCN      Date Filed 10/26/15   Entry Number 1       Page 6 of 6




                                       TROUTMAN SANDERS, LLP
                                       By: /s/ J. Timothy Mast_______
                                       J. Timothy Mast (GA Bar No. 476199)
                                       (application for admission pro hac vice to be filed)
                                       Mary M. Weeks (GA Bar No. 559181)
                                       (application for admission pro hac vice to be filed)
                                       600 Peachtree Street, NE, Suite 5200
                                       Atlanta, GA 30308-2216
                                       (404) 885-3312; Fax: (404) 962-6796
                                       tim.mast@troutmansanders.com
                                       mary.weeks@troutmansanders.com

                                       ATTORNEYS FOR DEFENDANT BNC
                                       BANCORP

Charleston, South Carolina
October 26, 2015




                                          6
